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                               UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

OG INTERNATIONAL LTD. and 0-GAMES,                  Case No. 11-cv-4980     P b'l&t
INC.,

                       Plaintiffs and    Counter-   UBISOFT'S MEMORANDUM OF POINTS
                       Defendants,                  AND AUTHORITIES IN SUPPORT OF
                                                    MOTION FOR TEMPORARY
        v.                                          RESTAINING ORDER AND
                                                    PRELIMINARY INJUNCTION
UBISOFT ENTERTAINMENT and
UBISOFT, INC.,                                      DEMAND FOR JURY TRIAL
                       Defendants and Counter-
                       Plaintiffs.                  HEARING: To Be Scheduled




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    UBISOFT'S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     MOTION FOR TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                           INJUNCTION

      Ubisoft Entertainment, S.A. and Ubisoft, Inc. (collectively, "Ubisoft") by this motion
espectfully ask this Court to prevent an irreparable harm before it occurs. Ubisoft has created anc
:ontinues to create the most successful and popular dance-based video game franchise on the markei
oday - the Just Dance series (Just Dance, Just Dance 2, and the recently released Just Dance 3)
Jbisoft created at least two key visual elements that distinguish the Just Dance series from othei
lance-based video games on the market -the avatar (left) and instructor (right) elements:




rhese elements establish a recognizable brand consistency throughout the Just Dance series.
      OG International and 0-Games USA (collectively, "OW) have announced and are preparing
.o release a competing dance-based video game-Get         Up and Dance.     Get Up and Dance, ir
~iolationof Ubisoft's copyrights and trade dress, unfairly competes by copying in nearly identica
:xpression key visual elements from Just Dance:




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If the Court does not enjoin the release of Get Up and Dance, Ubisoft will be unnecessarily an
irreparably harmed. OG could have and most definitely should have prevented such harm by simpl,
not copying the unique visual expression of Just Dance. Many dance-based games have gone befor
and each creatively and uniquely expressed the same elements. Yet OG decided to copy the mo:
popular game on the market. To make matters worse, OG intends to release their illegal game int,
the exact same market, at nearly the same time as Ubisoft's new Just Dance 3, but, of course, at
lower price point.
        There is no better time to stop a harm than before it occurs. This is particularly true wher
there is simply no way to return the harmed party to the status quo. Such is the case here. The vide'
game market is, like many markets, popularity driven. Once a game or franchise of games develop
a degree of popularity, sales take off. Successhl franchises, like the Just Dance series, drive sale
through loyalty, name recognition, and goodwill. Further, like books, bestseller lists drive gam
sales. Once a game moves onto and up bestseller lists, sales take off. OG is clearly seeking t~
benefit from the Just Dance franchise's popularity and, if not prevented, OG's release of Get Up an,
Dance will irreparably damage the strength of the Just Dance franchise. Regardless of whethe
consumers are confused and believe that Get Up and Dance actually is a Just Dance game, o
believe it is a less expensive imitation of a Just Dance game, Ubisoft's Just Dance franchise will b
damaged if Get Up and Dance is released. Every lost sale impacts the perceived popularity of thl
Just Dance franchise, and has significant upstream and downstream impacts on the entire Just Dane,
series. There is simply no way to track or calculate this harm. Absent an injunction, Get Up an,
Dance could be, as one online review put it, "the knife in the [Just Dance] franchise before it eve]
shows its face." httv://7bitarcade.com/feature-post/get-u-and-dance-preview/.The Court shoulc
znjoin the release of Get Up and Dance in the United States, and prevent Ubisoft from sufferin;
irreparable and irreversible harm.
[.      STATEMENT OF FACTS
        A.  Ubisoft's Just Dance Series is Original, Visually Distinctive, Immediatel:
            Recognizable, and the Industry Leading Dance-Based Video Game.
        Ubisoft is a leading international video game developer, publisher, and distributor. Ex. 1
  MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF TRO AND PRELIMINARY INJUNCTIOI
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(Ubisoft Website, At A   w lance).'   Formed in 1986, Ubisoft has become a leader in the entertainmenl
industry - it now boasts the second-largest in-house video game development staff in the world, anc
is the third-largest independent video game publisher in the United States. Id. Ubisoft's portfolio is
filled with heralded video game franchises such as the Tom Clancy series, the Assassin's Cree6
series, and the Just Dance series. Ex. B (Ubisoft Website, History). Llbisoft credits its success tc
strong game franchises, and today has a portfolio of 20 multimillion unit-selling franchises thal
represent approximately two-thirds of its annual sales. Ex. C (Ubisoft Website, Strategy).
               1.      Ubisoft Releases Its First JustDance Video Game in 2009.

        In November 2009, Ubisoft released the first game in its Just Dance series of dance videc
games. Ex. D (Declaration of Laurent Detoc ("Detoc Dec.")        12).   Just Dance was released on the
Nintendo Wii platform. Just Dance instructs players to physically perform dance routines, and
tracks the player's movements. Ex. E (Ubisoft Website, Just Dance). Just Dance achieved
commercial success, selling over two million copies worldwide. Ex. D (Detoc Dec.         13). At the
time it was released, Just Dance was the fastest-selling new third-party game for the IVintendo Wii,
(Id. 13).
        Just Dance was not the first video game in the dance genre, but it was aesthetically original
and distinctive from other prior games in the genre. (Id. 7 2). Although virtually all dance game:
have a central dancing figure, or "avatar," the avatars in Just Dance were distinct partially
silhouetted stylized dancers with white skin and bright clothing:




I
        The exhibits referred to throughout this memorandum refer to the exhibits to the Declaration
        of Andrew Chang.
    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF TRO AND PRELIMINARY INJUNCTION
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Ex. D (Detoc Dec.   1 2); Ex. F (Just Dance   Screenshots). In addition, Ubisoft developed unique,
original, and immediately-identifiable "instructors" to relay the Just Dance moves to the player:




Ex. D (Detoc Dec. 7 2); Ex. F (Just Dance Screenshots).

              2.      Ubisoft's Second Release in the Series, Just Dance 2 Incorporates the Key
                      Visual Elements of Just Dance To Increased Commercial Success.

       Following on the success of Just Dance, Ubisoft released its second title in the franchise, Jusl
Dance 2, in the United States on October 12, 201 0. Ex. D (Detoc Dec. 7 4). Just Dance 2 also was
released for the Wii platform. Id. To maintain consistency in the series and the brand identity, Jusl
Dance 2 utilized the same distinctive visual elements as in Just Dance. Id. In particular, Just Dance
2 incorporated the distinct partially silhouetted dancers with white skin and bright clothing that had
become immediately-recognizable with the Just Dance series:




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Ex. D (Detoc Dec.   7 4);   Ex. G (Just Dance 2 Screenshots). Just Dance 2 also incorporated the
~niquely-identifiable"instructors" that were first seen in Just Dance:




Ex. D (Detoc Dec. 7 4); Ex. G (Just Dance 2 Screenshots).
       The commercial success of Just Dance 2 surpassed the success of Just Dance. Ex. D (Detoc
Dec. 7 5). Less than three months' after its release, Ubisoft sold over 5 million copies of Just Dance
2. Id. By July 201 1, Just Dance 2 had become the highest-selling third-party game for the Wii
datform of all time. Ex. D (Detoc Dec. 7 5); Ex. H (Just Dance 2 Highest Selling Third Party Title
In Wii). Of the success of Just Dance 2, Ubisoft's Executive Director for North America, Lauren1
Detoc, commented:

              "Ubisoft is incredibly proud of the monumental success Just Dance 2
              has had the past nine months. The game's outstanding performance
              solidifies the Just Dance brand as a pop culture phenomenon."


Ex. H (Just Dance 2 Highest Selling Third Party Title on Wii). To date, Ubisoft has sold over 16
nillion copies of games in the Just Dance series. Ex. D (Detoc Dec. 7 6).
              3.      Ubisoft Releases JustDance 3 i n the United States on October 11,2011.

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2        7). Just Dance 3 was released on the Nintendo Wii, as well as Microsoft Xbox 360 platform. Id. It
3        will be released on the Sony Playstation 3 platform later this year. Id.
4                 Like its predecessors, Just Dance 3 incorporates the distinctly-styled avatars (partially
5        silhouetted dancers with white skin and bright clothing):
6




         Ex. D (Detoc Dec.    7 8); Ex. I (Just Dance   3 Screenshots). Just Dance 3 also carries through the
    II   uniquely-identifiable "instructors" that were key brand identifiers in both Just Dance and Just Dance




         Ex. D (Detoc Dec. 7 8); Ex. I (Just Dance 3 Screenshots). The distinctive expression of the avatar
         and instructor elements critically define the unique look of the Just Dance series. Ex. D (Detoc Dec.
         7 9).   Ubisoft incorporates these unique elements in the Just Dance games and on the packaging for
         the Just Dance games. Id. For example, Ubisoft has included screen shots depicting the avatar and


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instructor elements on the back cover of each Just Dance game, and the distinctive avatars are
prominently featured on the cover of the Just Dance 2 and Just Dance 3:




Ex. D (Detoc Dec. T[ 9); Ex. J (Amazon Best Sellers List for October 7, 201 1; Wal-Mart Best Sellers
List for October 7, 201 1). By designing the games in the Just Dance series to look and feel
substantially the same, consumers are able to identi@ a particular game as belonging to the Just
Dance series based on the unique aesthetics of the game. Ex. D (Detoc Dec. T[ 9).
       Ubisoft expects that Just Dance 3 will further develop the Just Dance brand identity, and
increase the popularity of Ubisoft's franchise in the dance genre of video games. (Id. T[ 8). In the
weeks leading up to its release, Just Dance 3's pre-release sales numbers alone made it the second
most popular Wii video game. Ex. J (Amazon Best Sellers List for October 7, 201 1; Wal-Mart Best
Sellers List for October 7, 201 1). In addition, Ubisoft's older Just Dance titles   -   the original Jusl
Dance and Just Dance 2    -   have resurged in parallel into the top 15 best selling Wii games. Ex. J
(Wal-Mart Best Sellers List for October 7, 201 1).      Each of these games is currently offered at
$39.99. Id.
              4.       Ubisoft Has Copyrighted Its Protected Expression.

       Ubisoft owns copyrights in the original and creative visual expression in the Just Dance
video games. Ubisoft Entertainment filed copyright registration applications for both Just Dance
and Just Dance 2 with the Copyright Office on July 1 1, 201 1. Ex. K (Copyright Registrations); Ex.
D (Detoc Dec. 7 10).
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             B.    OG Announces Release of Get Up andDance, Which Copies the Most Prominent
                   Aesthetic Elements from Ubisoft's Just Dance Series.

             Established in 2004, Defendant OG International is a relatively new video game publishe~
    based in the United Kingdom. Ex. L (OG International Website, Corporate). Defendant O-Games is
    OG International's wholly-owned subsidiary in North America. Id. OG International and O-Games
I   developed and plan to release their first entry in the dance genre of video games, Get Up and Dance:
    in the United States on November 1, 20 11. Ex. M (GameStop Pre-Release Order). Get Up ana
    Dance will be released on both the Nintendo Wii and Sony Playstation 3 video game platforms.
    Defendant Crave Entertainment will distribute Get Up and Dance in the United States. Id.
             Rather than develop original avatars and instructors, OG chose to mimic the recognizable
    aesthetics of Ubisoft's commercially-proven Just Dance franchise. Like Ubisoft's avatars, OG
    replicated the Just Dance avatars' partially silhouetted stylized dancers with white skin and bright
    clothing, and similarly copied the instructors used in Just Dance, as is shown below:




    Ex. N (Get Up and Dance Screenshots); see also Ex. F (Just Dance Screenshots); Ex. G (Just Dance
    2 Screenshots); Ex. I (Just Dance 3 Screenshots). Get Up and Dance is being marketed through
    many of the same commercial channels as Ubisoft's Just Dance, such as GameStop and Wal-Mart.
    Ex. M (GameStop Pre-Release Order; Wal-Mart Pre-Release Order). Get Up and Dance will be
    offered for $29.99 in the United States. Id.
    11.      ARGUMENT

1            The Copyright Act expressly grants the Court authority to "grant temporary and final
    injunctions on such terms as it may deem reasonable to prevent or restrain infringement of a
      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF TRO AND PRELIMINARY INJUNCTION
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copyright." 17 U.S.C.     5 502(a) (emphasis added). The discretion to enjoin trade dress infringement
is similarly within the Court's authority. 15 U.S.C. 1116(a). The Court applies a "four factor test"
when considering whether to grant a preliminary injunction: the movant "must establish that he is
likely to succeed on the merits, that he is likely to suffer irreparable harm in the absence oi
preliminary relief, that the balance of equities tips in his favor, and that an injunction is in the public
interest." Network Automation, Inc. v. Advanced Sys. Concepts, 638 F.3d 1137, 1144 (9th Cir. 201 1)
(quoting Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008)). The standards for a temporary restraining
order and a preliminary injunction are the same. Stuhlbarg Int '1 Sales Co., Inc. v. John D. Brush &
Co., Inc., 240 F.3d 832, 839 n. 7 (9thCir. 2001).
         A.      Ubisoft is Likely to Succeed on the Merits of its Copyright and Trade Dress
                 Claims.
                 1.     Copyright Infringement.
         OG's Get Up and Dance video game infringes Ubisoft's copyrights. Ubisoft owns the
copyrights on its Just Dance games, and Get Up and Dance is an unauthorized copy of Ubisoft's
protected expression. Data East USA, Inc. v. Epyx, Inc., 862 F.2d 204, 206 (9th Cir. 1988)
(copyright infringement requires showing that (I) movant owns copyrights and (2) respondent has
created an unauthorized copy). "Anyone who violates any of the exclusive rights of the copyright
owner as provided by section[] 106 . . . is an infringer of the copyright." 17 U.S.C.    5 501(a).
                         a.        Ubisoft Owns Copyrights in Just Dance.

         Ubisoft holds a bundle of exclusive rights, including the right to reproduce and to distribute
the Just Dance games to the public. See N.Y. Times Co. v. Tasini, 533 U.S. 483, 495 (2001); 17
U.S.C.   5   106. Ubisoft's employees created an original work of authorship in the Just Dance series
of video games, vesting in Ubisoft ownership of copyrights in the games. See 17 U.S.C.            5   101 (a
"work made for hire" is copyrighted when "prepared by an employee within the scope of his or her
employment"); id. at     5    201(b) (ownership of copyright vests automatically in the employer of an
author if it was a "work made for hire"). Ubisoft registered its copyrights in Just Dance and Just
Dance 2 with the Copyright Office on July 11, 201 1. Ex. K (Copyright Registrations). Upon
issuance, Ubisoft's "certificate of registration raises the presumption of copyright validity and
  MEMORANDUM OF POINTS AND AUTHORlTlES IN SUPPORT OF TRO AND PRELlMlNARY 1NJUNCTION
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ownership." Dream Games ofAriz., Inc. v. P C Onsite, 561 F.3d 983,987 n. 2 (9th Cir. Ariz. 2009).

                       b.     Get Up and Dance is an unauthorized copy of Ubisoft's
                              copyrighted Just Dance.

       Get Up and Dance is an illegal copy of Ubisoft's protected expression. Get Up and Dance
copies the key original creative aspects of Ubisoft's Just Dance series of video games - the avatars
expressed as partially silhouetted dancers with white skin and bright clothing, and the instructors.
Proof of copying requires a showing (I) that OG had access to the protected work before creating the
accused work and (2) that a substantial similarity of expression exists between the protected and
accused works. Narell v. Freeman, 872 F.2d 907,910 (9th Cir. 1989).
       OG plainly had access to Ubisoft's previous Just Dance titles. Access exists when the
copyrighted work as been "widely distributed." The Just Dance series has been publicly and
commercially available in the United States since November 2009. Ex. D (Detoc Dec.          7 2); Three
Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000) (access is proven "where the
plaintiffs work has been widely distributed"). Because Just Dance is commercially available,
providing OG with unfettered access, Ubisoft is entitled to a lower standard of proof on the question
of substantial similarity. Sivirsky v. Carey, 376 F.3d 841, 844 (9th Cir. 2004).
       Even without the lower standard of proof to which Ubisoft is entitled, OG's Get Up and
Dance is substantially similar to Ubisoft's protected expression in the Just Dance series of video
games. The Ninth Circuit applies a two-part test to assess substantial similarity. Apple Con~puterv.
Microsoft Corp., 35 F.3d 1435, 1442 (9th Cir. 1994). First, an "extrinsic" inquiry "objectively
considers whether there are substantial similarities in both ideas and expression." Id. Under this
extrinsic inquiry, analytic dissection may be employed to determine "whether similar elements
[between the works] are protectable   . . ." Mattel, Inc. v. MGA Entm 't, Inc., 6 16 F.3d 904, 9 13 (9th
Cir. 2010). After identifying the protectable elements, the court determines the breadth of protection
due - whether the similar elements in the protected work enjoy broad protection and need only be
substantially similar to the accused work, or whether the protection should be limited and protect
only against virtually-identical copying. Id. at 914. The second step is an "intrinsic" inquiry that

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isks "whether an ordinary reasonable observer would consider the copyrighted and challenged
works substantially similar (or virtually identical)." Id.

                               i)      OG's Get Up andDanre is substantially similar to Ubisoft's
                                       Just Dance in both ideas and expression

         Before applying the extrinsic and intrinsic analyses, it is important to note the difference

between ideas and expression and note that OG's Get Up and Dance copies both. Ubisoft's Jusl
Dance and Defendant's Get Up and Dance are largely identical in underlying ideas - they are both
;lance video games, in which the game instructs the player to perform dance moves, the player's
novements are captured by the gaming system, the dance routine is "performed" by an "avatar," and
3oints are awarded for the degree to which a player conforms to the dance.
         More importantly, the expression of key elements in Ubisofi's Just Dance series         -   the
3rominent "avatar" and "instructor" elements     -   is copied nearly identically in Get Up and Dance.
While it is true that most dance video games feature a central avatar and instruct the player regarding
;lance moves, Ubisoft's unique and original expression of the avatar and instructor is afforded broad
:opyright protection. The pinnacle example of this concept is provided in a similar video game
:opyright case involving PAC-MAN, Atari, Inc. v. North American Philips Consumer Electronics
L'orp., 672 F.2d 607 (7th Cir. 1982). In Atari, the court preliminarily enjoined a video game thai
:opied PAC-MAN. Atari, 672 F.2d at 619-20. The court explained that although many concepts in
:he infringing game - such as a maze, scoring table, tunnel exits, and the use of dots to accumulate
3oints   -   were "standard" game devices and only protected from identical copying, the unique
zcpressions of PAC-MAN like the now-famous "gobbler" pursuing "ghost monsters" were entitled
.o broad copyright protection. Id. at 616-17. Other games in the maze-chase genre employed
:ntirely different means of expressing these characters, making the gobbler and ghost monsters
lnique expressions of the idea. Id. at 617-18. Because the gobbler and ghost monsters in the
iccused work were substantially similar to those in PAC-MAN, the court found substantial similarity
jespite many differences in non-protected aspects of the games. Id. at 6 19-20.
         The principles established in Atari apply directly here. Competing video games in the dance

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2
     II   and "instructor" elements common to dance video games, as is described in detail below. Ubisoft
3
     II   expressed these key features in an original and unique way, and that expression is entitled to broad
4
     I    protection. Further, because OG copied these prominent elements nearly identically in Get Up and
5
     II   Dance, it is substantially similar to Ubisoft's protected work.
                                        ii)     Extrinsic Inquiry: The "avatars" and "instructors"
                                                                                                                    I
                                                developed by Ubisoft in Just Dance, and copied by OG in
                                                Get Up and Dance, are protectable and enjoy broad
                                                protection.

                 The extrinsic inquiry requires analytic dissection to determine "whether similar elements

10
     II   [between the works] are protectable or unprotectable." Mattel, Inc. v. MGA Entm't, Inc., 616 F.3d


l1   II   904, 913 (9th Cir. 2010). After identifjing the protectable elements, the court determines the

l2   I1   breadth of protection due. Id. at 914. The extrinsic inquiry compares similar elements between the

l3   I1   works. As is shown below, OG's infringing Get Up and Dance uses avatars and instructors that are

14
     I    nearly identical to Ubisoft's avatars and instructors in Just Dance:




          Ex. N (Get Up and Dance Screenshots); see also Ex. F (Just Dance Screenshots); Ex. G (Just Dance
          2 Screenshots); Ex. I (Just Dance 3 Screenshots). These elements are protectable   -   where there is a
          wide range of expression for a given idea, copyright protection is broad and infringement will be
          found if the works are "substantially similar." Mattel, Inc. v. MGA Entnl't, Inc., 616 F.3d 904, 913-
          914 (9th Cir. 2010). Like the "gobbler" and "ghost monsters" in PAC-MAN which represented just

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2        one of countless ways to express these elements in the dance-based video game genre. For example,

3        the avatars utilized to date in competing video games in the dance genre are substantially different
4        than those created for Just Dance. As is demonstrated in the examples below, the avatars of

5        competing games are quite different than those in Just Dance, demonstrating the broad range of
6        expression available for the avatar:
                                                1 Boopie Sugerstar by EA: (
             -       -


              Dancing with the Stars                                          Dance Dance Revolution:




                                                                          I



                              Avatars from 1Jbisoft's Just Dance series of video games




    I1   Ex. 0 (Competing Game Screenshots); see also Ex. F (Just Dance Screenshots); Ex. G (Just Dance
         2 Screenshots); Ex. I (Just Dance 3 Screenshots).


    II          The same is true for the "instructor" element -- many different expressions for the instructor
    ((elementhave been employed in competing dance-based video games:



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            Dancin~with the Stars by
                 Activision:
                                             Boopie Superstar by
                                                    EA:
                                                                        Dance Dance Revolution: Hottest
                                                                               Partv bv Bemani                   I


     11                     Instructors from Ubisoft's Just Dance series of video games




14
15        Ex. 0 (Competing Game Screenshots); see also Ex. F (Just Dance Screenshots); Ex. G (Just Dance

16
     II   2 Screenshots); Ex. I (Just Dance 3 Screenshots).
                                                                                                                 I
l7   11          As unique expressions among countless options, Ubisoft's avatars and instructors are both

18
     II   protectable and afforded broad copyright protection. Accordingly, OG's use of Ubisoft's protected

19
     II   expression of both the avatar and instructors in Get Up and Dance is analyzed under the substantial

20
     II similarity test. Apple Computeriii)v. Microsoft Corp., 35 F.3d 1435, 1442 (9th Cir. 1994).
                                                Intrinsic Inquiry: A reasonable observer would consider
                                                                                                        I
                                               OG's Get Up and Dance video game to be substantially
                                               similar to Ubisoft's protected Just Dance game.


23   11          The "intrinsic" inquiry next asks "whether an ordinary reasonable observer would consider
                                                                                                                 I
24
     II   the copyrighted and challenged works substantially similar (or virtually identical)." Mattel, Inc. v

25
26
     II   MGA Entnt't, Inc., 616 F.3d 904, 914 (9th Cir. 2010). In applying the intrinsic test, the focus
          remains on the key protectable elements - here, the avatars and instructors. See Brown Bag Software

27        v. Symantec Corp., 960 F.2d 1465, 1476 (9th Cir. 1992) (intrinsic component "involves a subjective



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        analysis of similarities in expression"); Data East USA, Inc. v. Epyx, Inc., 862 F.2d 204, 208 (9th
        Cir. Cal. 1988) (finding of infringement may not be defeated by analyzing dissimilarities).


II II
                Get Up and Dance is substantially similar to Just Dance. Both works include avatars that are
        partially silhouetted stylized dancers with white skin and bright clothing; and both works use nearly-   I
11 identical instructors:                                                                                        I

                                                     Avatars
                                                                                                                 I



II                                                 Instructors                                                   I




        Ex. F (Just Dance Screenshots); Ex. G (Just Dance 2 Screenshots); Ex. I (Just Dance 3
        Screenshots); Ex. N (Get Up and Dance Screenshots). OG's selection of these elements to copy is
        strategic.   The avatars occupy "center stage" and are the single most dominant visual element in
        each game. The instructors are similarly important because players must watch the instructors
        closely in order to perform the correct dance move during game play. More so than any other
        features in the video game genre, the avatars and instructors drive the look and feel of the games.

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While there were countless ways OG could have depicted these core elements that were no1
substantially similar to the protectable expression in Just Dance, OG opted to use Ubisoft's
expression. In the same way the infringer in Atari prevented from taking the visual expression of the
"gobbler," OG here should not be allowed to use a substantially similar avatar and instructor. In
sum, Ubisoft has demonstrated it is likely to succeed on its copyright infringement claim.

               2.      Trade Dress Infringement.

       Ubisoft is also likely to succeed on its 15 U.S.C. $ 1125(a) trade dress infringement claim.
Trade dress "refers to the 'total image of a product' and may include features such as size, shape,
color, color combinations, texture or graphics." International Jensen, Inc. v. Metrosound U.S.A.,
Inc., 4 F.3d 819, 822 (9th Cir. 1993). "A seller's adoption of a trademark or trade dress that is
conhsingly similar to a competitor's constitutes unfair competition and is actionable under section
43(a) of the Lanham Act, 15 U.S.C. $ 1125(a)." Id. A plaintiff may recover for trade dress
infringement if the trade dress is both nonfunctional and distinctive, and if there is a likelihood that
the public would confuse the alleged infringer's trade dress with that of the plaintiff. Id. at 823.
Ubisoft's avatars and instructors in its Just Dance series meet this test.
                       a.      Ubisoft's trade dress is nonfunctional.

       Ubisofi's trade dress is nonfunctional    - the   expression of the avatars and instructors in the
Just Dance series is not "essential to the use or purpose of the [games]." TrafFx Devices, Inc. v.
Marketing Displays, Inc., 532 U.S. 23, 32 (2001.). Rather, the expression of these elements are
visually and aesthetically distinctive, and serve to identify the games as part of the Just Dance
franchise.   Importantly, competitors are not placed at a "significant non-reputation-related
disadvantage" by using avatars and instructors aesthetically distinct from Ubisoft's. Id. The Ninth
Circuit considers four factors to assess functionality: "(1) whether the design yields a utilitarian
advantage, (2) whether alternative designs are available, (3) whether advertising touts the utilitarian
advantages of the design, and (4) whether the particular design results from a comparatively simple
or inexpensive method of manufacture." Disc GolfAss 'n v. Champion Discs, 158 F.3d 1002, 1006

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(9th Cir. 1998). Here, all four factors weigh in favor of finding Ubisoft's trade dress nonfunctional.
       Trade dress based on aesthetic elements provides utilitarian advantage only in "limited
circumstances . . . where the consumer is driven to purchase the product based on how it looks." Fiji
Water Co., LLC v. Fiji Mineral Water USA, LLC, 74 1 F. Supp. 2d 1 165, 1173 (C.D. Cal. 2010); see
Qualitex Co. v. Jacobson Products Co., 514 U.S. 159, 166 (1995) (use of a particular color on drj
cleaning pads might avoid noticeable stains and is thus aesthetically functional); Brunswick Corp. v.
British Seagull, Ltd., 35 F.3d 1527, 1532 (Fed. Cir. 1994) (painting a product black served a
functional purpose by decreasing the apparent size of the object). No utilitarian advantage is gained
through Ubisoft's artistic choice (first factor) and Ubisoft does not emphasize or tout any such
advantage (third factor). The particular expression of Ubisoft's avatars and instructors serve no
purpose beyond identifying the games as part of the Just Dance franchise. In fact, as to the second
element   -   whether alternative designs are available   -   it is important that competing dance-genre
video games utilize alternative expressions for their avatars and instructors. These competing games
are not placed at any significant non-reputation based disadvantage by using aesthetically distinct
avatars and instructors. Finally, the technology used to create these visual elements should differ
little in expense from many alternatives currently on the market.
                        b.      Ubisoft's trade dress is distinctive.

       "A mark or dress is distinctive when it identifies the particular source of the product or
distinguishes it from other products." International Jensen, 4 F.3d at 824; Autodesk, Inc. v. Dassaull
Systemes Solidworks Corp., 685 F. Supp. 2d 1001, 1013 (N.D. Cal. 2009). This can be shown either
by demonstrating that the trade dress is inherently distinctive or has acquired a secondary meaning
(as to product origin) with consumers in the marketplace. Disc GolfAss'n v. Champion Discs, 158
F.3d 1002, 1005 (9th Cir. 1998). Inherent distinctiveness exists where the trade dress is so "unique,
unusual, or unexpected in this market that one can assume without proof that it will automatically be
perceived by consumers as an indicator of origin." Fiji Water Co., LLC v. Fiji Mineral Water USA,
LLC, 741 F. Supp. 2d 1165, 1176 (C.D. Cal. 2010) (citing Seabrook Foods, Inc. v. Bar- Well Foods
Ltd, 568 F.2d 1342 (CPPA 1977)). Courts may consider the following relevant factors to assess the
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inherent distinctiveness of Ubisoft's trade dress: (1) whether the design is a common, basic shape or

design and (2) whether it was unique or unusual in a particular field. Id. Ubisoft's trade dress is
inherently distinctive because its original, unique and immediately identifiable avatars and
instructors distinguish Just Dance from competing dance video game products.
       Ubisoft incorporates these unique elements both in the Just Dance games themselves and on
the packaging. For example, Ubisoft has included screen shots depicting the avatar and instructor
elements on the back cover of each Just Dance game, and the distinctive avatars are prominently
featured on the cover of Just Dance 3. Ex. D (Detoc Dec. 7 9); Ex. P (Just Dance 3 from Wal-Mart;
Just Dance 3 from Game Stop). In every version of the Just Dance series, the appearance of the
avatars and instructors remains consistent. Ex. D (Detoc Dec. 77 2,4, 8,9). From the first release in
the Just Dance series to the present, the visual impression of the avatars and instructors have
continued to identify Ubisoft's games as members of the Just Dance series, and serve to distinguish
these games from the competition.

                       c.     There is a strong likelihood that the public will confuse OG's Get
                              Up and Dance as being part of the Just Dance series.

       "Likelihood of confusion exists when customers viewing the mark would probably assume
that the product or service it represents is associated with the source of a different product or service
identified by a similar mark." Clicks Billiards, Inc. v. Sixshooters Inc., 251 F.3d 1252, 1265 (9th
Cir. 2001) (quoting Fuddruckers, Inc. v. Doc's B.R. Others, Inc., 826 F.2d 837, 845 (9th Cir. 1987)).

Courts may consider the following "Sleekcraft factors" to assess likelihood of confusion:             (I)
similarity of the conflicting designations; (2) relatedness or proximity of the two companies'
products or services; (3) strength of trade dress; (4) marketing channels used; (5) degree of care
likely to be exercised by purchasers in selecting goods; (6) OG's intent in selecting its designation;
(7) evidence of actual confusion; and (8) likelihood of expansion in product lines. Interstellar
Starship Sems. v. Epix, Inc., 184 F.3d 1107, 1110 (9th Cir. 1999). These factors need not be rigidly
weighed-some     factors may be pivotal while others should be afforded little weight. Dreamwerks
Prod. Group v. SKG Studio, 142 F.3d 1 127, 1129-3 1 (9th Cir. 1998).                 Here, the factors

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overwhelmingly support a finding that there is a strong likelihood that the public will confuse OG's

Get Up and Dance as being part of Ubisoft's Just Dance series. In fact, forums advertising the
release of Get Up and Dance already show actual confusion among consumers.
                                 i)     Get Up and Dance is nearly identical to Ubisoft's trade
                                        dress.
       The level of similarity between Ubisoft's trade dress and OG's product is a key factor in the

likelihood of confusion analysis. Perfunzebrry.com, Inc. v. eBay Inc., 506 F.3d 1165, 1174 (9th Cir.

2007). As is demonstrated above, Get Up and Dance has copied the distinctive avatar and instructor

elements that that are common to Ubisoft's Just Dance series and are included on all Just Dance
packaging. OG copied these visual elements nearly identically in its product. Factor one          -   the
similarity of the conflicting designations - weighs strongly in Ubisoft's favor.
                                ii)     Get Up and Dance will compete directly - and through the
                                       same marketing channels - as Just Dance.
       In factors 2, 4, and 8 listed above, the important inquiry is whether the goods are in direct

competition. With respect to factor 2    - relatedness   or proximity of the two competing companies'
products or services   -   courts examine whether the goods "are similar in use and function" and

"would be reasonably thought by the buying public to come from the same source if sold under the

same mark." Aurora World, Inc. v. TY Inc., 7 19 F. Supp. 2d 1 1 15, 1 160 (C.D. Cal. 2009) (quoting

AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341, 348 n. 10, 350 (9th Cir. 1979)). Here, Just Dance and
Get Up and Dance are so similar in use and function that they are practically interchangeable -they
are both video games in the dance genre. As a consequence, they could be reasonably thought by the

buying public to come from the same source.

       Related factor 4    -   marketing channels used   -   "requires the court to consider whether the

predominant purchasers of the parties' goods are similar or different, and whether the marketing
approaches used resemble each other." Id. at 1162. Upon its planned release, OG's Get Up ana
Dance will directly compete with Ubisoft's Just Dance series and will be marketed through the same
channels. Ex. M (Gamestop Pre-Release Order; Wal-Mart Pre-Release Order). Already, both
games are available for order or for pre-order from shared major retailers. Id.

       Finally, factor 8 - likelihood of expansion in product line - asks whether either party will
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     expand use of the trade dress to directly compete. AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341, 354
     (9th Cir. 1979). Because Get Up and Dance will directly compete if released, the Court need not
     wait for an expansion to find a likelihood of confusion. Factors (2), (4), and (8) favor Ubisoft.
                                    iii)    Ubisoft's trade dress is inherently distinctive.

            Factor three - strength of trade dress - "rests on its distinctiveness." Miss World (UK) Ltd. v.
     Mrs. America Pageants, Inc., 856 F.2d 1445, 1448 (9th Cir. 1988). Ubisoft created original, unique
     and immediately identifiable avatars and instructors. Their look is unique among competitors that
     they will "automatically be perceived by consumers as an indicator of origin" and are thus inherently
     distinctive. Fiji Water Co., LLC v. Fiji Mineral Water USA, LLC, 741 F. Supp. 2d 1165, 1176 (C.D.
     Cal. 2010). Because inherent distinctiveness is indicative of a strong mark, this factor weighs in
     Ubisoft's favor. See Paddington Corp. v. Attiki Intporters & Distribs., Inc., 996 F.2d 577, 585 (2d
     Cir. 1993) (inherently distinctive trade dress is necessarily strong).
                                    iv)     Actual confusion already exists.

            With respect to factor 7 - evidence of actual confusion - although Get Up and Dance has not
     been released yet, previews and pre-release reviews of the game already have generated some
     evidence of actual consumer confusion. First, commenting on a preview video of the accused
     product posted to the Get Up and Dance Facebook page, one fan commented, "is this [Jlust
     [D]ance!?!?'Ex. Q (Get Up and Dance Facebook Page). Particularly in light of the fact that
     consumer confusion is apparent even before the release of OG's accused product, this factor weighs
     in Ubisoft's favor. In sum, all relevant factors demonstrate that Ubisoft is likely to succeed in
II   establishing a likelihood of consumer confusion. And because Ubisoft's trade dress is nonfunctional
I I and inherently distinctive, Ubisoft is likely to succeed on its trade dress infringement claim.            I
            B.      Ubisoft Will Suffer Irreparable Harm without Injunctive Relief.
            Ubisoft will suffer irreparable harm unless the Court enjoins the release of OG's Get Up and
11   Dance video game. Both market dynamics and the franchise status of Ubisoft's Just Dance series1
11   significantly exacerbate the ordinary risks of irreparable harm. Every potential Just Dance consumer      1
I    that is lost to Get Up and Dance creates a cascading and incalculable harmful effect in the context of

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the video game market and, particularly, a franchise game in that market.
       Ubisoft has achieved and established a growing base of loyal Just Dance customers by
offering consistently exceptional releases in the Just Dance series. Ex. D (Detoc Dec.    7 14).   This
brand momentum extends beyond sales of future franchise releases to already-established customers:
but further fosters growth among additional new customers. Id. The fact that existing customers
will buy Just Dance 3, for example, will cause that game to trend toward the top of various game
bestseller lists, which are often reviewed by new customers looking to purchase a game. Ex. D
(Detoc Dec. 7 14); Ex. J (Amazon Best Sellers List for October 7, 201 1; Wal-Mart Best Sellers Lisl
for October 7, 201 1). Accordingly, every sale of Get Up and Dance that would have gone to Jusl
Dance negatively impacts Just Dance's market momentum and associated ability to attract new
customers to the franchise. Ex. D (Detoc Dec. 7 14). In the dynamic, popularity driven video game
market, the loss of new customers has a far greater impact than the loss of the sale of one game. Id.
These harms cannot be accurately quantified in terms of monetary loss. Id.
       In the context of a franchise game, however, the irreparable harm goes even further.
Franchise loyalty also generates significant benefits with existing and newly acquired customers.
(Id. 7 15). Customers who buy one game from the Just Dance series very often return to buy other
existing and/or future games in the Just Dance series. Id. For example, customers who first
purchase the original Just Dance often buy subsequent "upstream" releases in the Just Dance series
because of the additional features and song lists. Id. Additionally, customers who first purchase a
recently-released Just Dance game (such as Just Dance 3) often buy previously-released
"downstream" games (such as Just Dance and Just Dance 2) for additional variety in song lists and
functionality. Id. In fact, Just Dance 3's pre-release sales numbers alone made it the second most
popular Wii video game. Ex. J (Amazon Best Sellers List for October 7, 201 1; Wal-Mart Best
Sellers List for October 7, 201 1). In addition, Ubisoft's older Just Dance titles - the original Just
Dance and Just Dance 2 - have resurged in parallel into the top 15 best selling Wii games. Ex. J
(Wal-Mart Best Sellers List for October 7, 201 1). Accordingly, if a customer is persuaded to
purchase Get Up and Dance instead of Just Dance, it is likely that Ubisoft would lose that customer

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across the Just Dance brand. Id. Ubisoft has no method for calculating the impact of these various
losses that would occur. Id.
       Even the ways in which Get Up and Dance seeks to draw consumers away from Just Dance
results in distinct forms of irreparable harm. First, because Get Up and Dance visually appears
substantially similar to Ubisoft's Just Dance franchise in key identifying elements, customers may
perceive that Get Up and Dance actually is a Just Dance game, or that it is a less expensive version
of a Just Dance game. (Id. 7 13). Ubisoft has invested both intellectual and monetary capital in
fostering quality and consistency across the entire Just Dance series.        Ubisoft's copyrighted
expression and trade dress have remained consistent across all releases in the Just Dance series, and
Ubisoft's trade dress serves importantly to identify each new Just Dance title as a member of the
most popular dance-genre video game series. OG's entry in the market will strip Ubisoft of its
power to maintain the brand consistency that Just Dance consumers have come to expect. (Id. 7 13).
This loss of brand consistency will inevitably damage the goodwill Ubisoft has established. See
Stuhlbarg Int'l Sales Co. v. John D. Brush & Co., 240 F.3d 832, 841 (9th Cir. 2001) (finding loss ol
goodwill is an important factor of irreparable harm).
       Second, Get Up and Dance - sold at $29.99 - $10 less than the Just Dance series - may pull
consumers away from Just Dance because it is cheaper. Ex. D (Detoc Dec.        7   12). Again, loss of
such sales in the bestseller driven video game marketplace will work incalculable harm on Ubisoft.
Furthermore, OG's price undercutting strategy threatens price erosion as customers will question
why Ubisoft's Just Dance games are not similarly priced. Ex. D (Detoc Dec. 7 12). See Mint, Inc. v.
Iddi Amad, 2011 U.S. Dist. LEXIS 49813 (S.D.N.Y. May 9, 2011) (enjoining copyright
infringement, in part, because price erosion constituted irreparable harm). If OG is allowed to enter
the market with a less expensive video game that looks and feels like Just Dance, CTbisoft may never
be able to charge $39.99 for any game in the Just Dance series again. Ex. D (Detoc Dec.         7   12).
Even if OG's product is ultimately removed from the marketplace as a result of further litigation,
once a consumer sees a substantially similar product for 25% less, that consumer may never be
willing to pay $39.99 again. See Flag Fables, Inc. v. Jean Ann's Country Flags & Craft, Inc., 730

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F. Supp. 1165, 1174 (D. Mass. 1989) (finding irreparable harm due in part to "consumer questions
regarding the pricing of the plaintiffs work, in light of the defendants' lower charge"). This will
impact games up and down the franchise to an extent that cannot be measured.
       C.     The Balance of Hardships Tips Decidedly in Ubisoft's Favor.

       Courts must also "balance the competing claims of injury and must consider the effect on
each party of the granting or withholding" a preliminary injunction. Flexible Lifeline Sys. v.
Precision Lift, Inc., 201 1 U.S. App. LEXIS 17462 (9th Cir. Mont. Aug. 22, 201 1) (quoting Winter v.
NRDC, Inc., 555 U.S. 7,24 (2008)). Here, the balance of equities heavily favors Ubisoft.
       First, absent the requested injunction, Ubisoft stands to lose sales and long-term market share
to an extent which simply cannot be measured, and may be forced to reduce prices across its Just
Dance series. Ubisoft has invested substantial intellectual and financial capital into growing the
successful Just Dance series, and OG cannot ride the coattails of Ubisoft's success.
       Second, any harm that would result to OG as a result of the requested preliminary injunction
was assumed by OG when they chose to copy Ubisoft's copyrighted expression and trade dress. As
is evidenced by the many competitors successfi~llycompeting in the marketplace without using
Ubisoft's intellectual property, OG could easily have avoided infringement by not incorporating
nearly identical copies of Ubisoft's most prominent visual features. Moreover, OG needs only move
away from Ubisoft's expression in order to bring to market a game that fairly competes. This burden
is comparatively small to the irreparable harm Ubisoft stands to endure if the Court does not enjoin
OG's release of Get Up and Dance.

       D.     The Public Interest is Served by Enjoining the Release of OG's Infringing Video
              Game.

       The public interest is served by enjoining the release of OG's infringing video game.
Protecting copyrights is in the public interest. See Warner Bros. Entm't, Inc. v. WTVSys., 201 1 U.S.
Dist. LEXIS 107772 (C.D. Cal. Aug. 1, 201 1) ("it is virtually axiomatic that the public interest can
only be served by upholding copyright protections"). Similarly, the heart of trade dress enforcement
is to "avoid consumer confusion, which is in the public interest." Caesars World, Inc. v. Milanian,
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247 F. Supp. 2d 1171, 1205 (D. Nev. 2003). Further, no compelling public interest argument
:upports allowing OG to release an infringing game.
111.     CONCLUSION

         OG's planned release of Get Up and Dance on November 1, 201 1 will infringe Ubisoft's
valuable copyrights and trade dress. Because Ubisoft is likely to succeed on the merits and has
jemonstrated significant irreparable harm, it respectfully requests the Court preliminary enjoin
Defendants from releasing Get Up and Dance.




Dated: October 12,2011                    SHOOK, HARDY & BACON
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                                                Attorneys for UBISOFT ENTERTAINMENT and
                                                UBISOFT, INC.




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